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 3
     Sacramento, California 95814
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     Attorneys for Michael Taylor Sr.
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 6
                          IN THE UNITED STATES DISTRICT COURT
 7
                       FOR THE EASTERN DISTRICT OF CALIFORNIA
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                                               )
10   UNITED STATES OF AMERICA,                 )   Case No.: 2:12-cr-0375-TLN
                                               )
11                                                 STIPULATION AND ORDER FOR
                   Plaintiff,                  )
                                               )   CONTIUATION OF THE JUDGMENT
12                                                 AND SENTENCING
            vs.                                )
13                                             )
14   MICHAEL RAY TAYLOR, SR.,                  )
              Defendant.                       )
15                                             )
16
17          IT IS HEREBY STIPULATED BY AND AMONG ALL PARTIES that the
18   Judgment and Sentencing scheduled for February 19, 2015, at 9:30 a.m. is continued to
19   June 4, 2015, at 9:30 a.m. in the same courtroom. The continuance is requested because
20   defense counsel needs additional time to prepare for the Pre-Sentence Report (PSR).
21   Jared Dolan, Assistant United States Attorney, and Thomas A. Johnson, Defendant’s
22   attorney, agree to this continuance.
23
24   IT IS SO STIPULATED.
25
26   DATED: February 17, 2015                       By:    /s/ Thomas A. Johnson
                                                           THOMAS A. JOHNSON
27                                                         Attorney for Defendant
                                                           MICHAEL RAY TAYLOR, SR.
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 2   DATED: February 17, 2015                        BENJAMIN B. WAGNER
                                                     United States Attorney
 3
                                              By:     /s/ Thomas A. Johnson for
 4                                                   JARED DOLAN
                                                     Assistant United States Attorney
 5
 6   IT IS SO ORDERED.
 7   DATED: February 17, 2015
 8
 9                              ______________________________
                                Troy L. Nunley
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                                United States District Judge
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 1                               IN THE UNITED STATES DISTRICT COURT
 2                         FOR THE EASTERN DISTRICT OF CALIFORNIA
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                                                    )   Case No.: 2:12-cr-0375-TLN
 4   UNITED STATES OF AMERICA,                      )
                                                    )   MODIFICATION OF SCHEDULE FOR
 5                  Plaintiff,                      )   PRE-SENTENCE REPORT AND FOR
                                                    )   FILING OF OBJECTIONS TO THE PRE-
 6          v.                                      )   SENTENCE REPORT
                                                    )
 7                                                  )
     MICHAEL RAY TAYLOR, SR.,                       )
 8                                                  )
                    Defendant.                      )
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10
     Judgment and Sentencing date:                              June 4, 2015
11
12   Reply or Statement                                         May 28, 2015

13   Motion for Correction of the Pre-Sentence
     Report shall be filed with the court and                   May 21, 2015
14   served on the Probation Officer and opposing
15   counsel no later than:

16   The Pre-Sentence Report shall be filed with
     the court and disclosed to counsel no later                May 14, 2015         __
17   than:
18
     Counsel’s written objections to the Pre-
19   Sentence Report shall be delivered to the                  April 30, 2015
     Probation Officer and opposing counsel
20   no later than:
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     The proposed Pre-Sentence Report                           April 16, 2015
22   shall be disclosed to counsel no later than:
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